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UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF NEW YORK 2 {240 I 2028 S

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UNITED STATES OF AMERICA

: PRELIMINARY ORDER OF

-Vv.- FORFEITURE/

: | MONEY JUDGMENT

ANWAR SALAHUDDIN,
21 Cr. 681 (NSR) -O%
Defendant.

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WHEREAS, on or about November 9, 2021, ANWAR SALAHUDDIN (the
‘“Defendant’”’), was charged, among others, in an Indictment, 21 Cr. 681 (NSR) (the “Indictment”),
with conspiracy to commit wire fraud in violation of Title 18, United States Code, Section 1349
(Count One); wire fraud in violation of Title 18, United States Code, Sections 1343 and 2 (Count
Two); and aggravated identity theft in violation of Title 18, United States Code, Sections
1028A(a)(1) and 2(a) (Count Three);

WHEREAS, the Indictment included a forfeiture allegation as to Counts One and
Two of the Indictment, seeking forfeiture to the United States, pursuant to Title 18, United States
Code, Section 981(a)(1)(C) and Title 28, United States Code, Section 2461(c), any and all
property, real and personal, that constitutes or is derived from proceeds traceable to the
commission of the offenses charged in Counts One and Two of the Indictment, including but not
limited to a sum of money in United States currency representing the amount of proceeds traceable
to the commission of the offenses charged in Counts One and Two of the Indictment;

WHEREAS, the Indictment included a forfeiture allegation as to Count Three of
the Indictment, seeking forfeiture to the United States, pursuant to Title 18, United States Code,
Sections 982(a)(2)(B) and 1028(b), any and all property constituting, or derived from, proceeds

obtained directly or indirectly, as a result of the offense charged in Count Three of the Indictment
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and any and all personal property used or intended to be used to commit the offense charged in
Count Three of the Indictment, including but not limited to a sum of money in United States
currency representing the amount of proceeds traceable to the commission of the offense charged
in Count Three of the Indictment;

WHEREAS, on or about February 9, 2024, the Defendant was found guilty,
following a jury trial, of Counts One through Three of the Indictment;

WHEREAS, the Government asserts that $493,500 in United States currency,
represents the amount of proceeds traceable to offenses charged in Counts One through Three of
the Indictment that the Defendant personally obtained;

WHEREAS, the Government seeks a money judgment in the amount of $493,500
in United States currency, pursuant to Title 18, United States Code, Section 981(a)(1)(C) and Title
28, United States Code, Section 2461(c), representing the proceeds traceable to the commission of
the offenses charged in Counts One through Three of the Indictment;

WHEREAS, the Court finds that as a result of acts and/or omissions of the
Defendant, the proceeds traceable to the offenses charged in Counts One through Three of the
Indictment that the Defendant personally obtained cannot be located upon the exercise of due
diligence.

NOW, THEREFORE, IT IS ORDERED, ADJUDGED AND DECREED THAT:

1. As a result of the offenses charged in Counts One through Three of the
Indictment, a money judgment in the amount of $493,500 in United States currency (the “Money
Judgment”), representing the amount of proceeds traceable to the offenses charged in Counts One
through Three of the Indictment that the Defendant personally obtained, shall be entered against

the Defendant.
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2. Pursuant to Rule 32.2(b)(4) of the Federal Rules of Criminal Procedure, this
Preliminary Order of Forfeiture/Money Judgment is final as to the Defendant ANWAR
SALAHUDDIN, and shall be deemed part of the sentence of the Defendant, and shall be included
in the judgment of conviction therewith.

3. All payments on the outstanding money judgment shall be made by postal
money order, bank or certified check, made payable, in this instance, to the United States Marshals
Service, and delivered by mail to the United States Attorney’s Office, Southern District of New
York, Attn: Illicit Finance and Money Laundering Unit, 26 Federal Plaza, 38" Floor, New York,
New York 10278 and shall indicate the Defendant’s name and case number.

4. The United States Marshals Service is authorized to deposit the payments
on the Money Judgment into the Assets Forfeiture Fund, and the United States shall have clear
title to such forfeited property.

5. Pursuant to Title 21, United States Code, Section 853(p), the United States
is authorized to seek forfeiture of substitute assets of the Defendant up to the uncollected amount
of the Money Judgment.

6. Pursuant to Rule 32.2(b)(3) of the Federal Rules of Criminal Procedure, the
United States Attorney’s Office is authorized to conduct any discovery needed to identify, locate
or dispose of forfeitable property, including depositions, interrogatories, requests for production

of documents and the issuance of subpoenas.

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7. The Court shall retain jurisdiction to enforce this Preliminary Order of
Forfeiture/Money Judgment, and to amend it as necessary, pursuant to Rule 32.2 of the Federal

Rules of Criminal Procedure.

SO ORDERED:

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— 3, /26/Q25
HONORABLE-NELSON S. ROMAN DATE

UNITED STATES DISTRICT JUDGE

